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                   EXHIBIT 12
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 1           UNITED STATES DISTRICT COURT

 2           FOR THE WESTERN DISTRICT OF NEW YORK

 3            ---------------------------------------------

 4           BLACK LOVE RESISTS IN THE RUST, et al.,
             individually and on behalf of a class of
 5           all others similarly situated,

 6                       Plaintiffs,

 7            -vs-                                 1:18-cv-00719-CCR

 8           CITY OF BUFFALO, N.Y., et al.

 9                  Defendants.
              ---------------------------------------------
10

11

12                   ORAL EXAMINATION OF LANCE RUSSO

13                         APPEARING REMOTELY FROM

14                          ERIE COUNTY, NEW YORK

15

16                          Friday, April 29, 2022

17                          At 9:00 a.m. - 6:20 p.m.

18                          Pursuant to notice

19

20           REPORTED BY:

21           Brooklyn Morton, Notary Public

22           APPEARING REMOTELY FROM ERIE COUNTY, NEW YORK

23




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 1           R E M O T E        A P P E A R A N C E S

 2           APPEARING FOR THE PLAINTIFFS:

 3                             CENTER FOR CONSTITUTIONAL RIGHTS
                               BY: A. CHINYERE EZIE, ESQ.
 4                             666 Broadway, 7th Floor
                               New York, New York 10012
 5                             (212) 614-6475

 6           APPEARING FOR THE DEFENDANTS:

 7                             HODGSON RUSS, LLP
                               BY: KATELYN A. RAUH, ESQ.
 8                             605 Third Avenue
                               Suite 2300
 9                             New York City, New York 10158
                               (646) 218-7528
10
             ALSO PRESENT: RAFAELA URIBE, Center for
11                         Constitutional Rights

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 1           but it is specifically written under the

 2           housing unit.            I don't believe I read that

 3           before.

 4       Q. O k a y .    I will stop the screen share.                      Now,

 5           what types of police activities did the

 6           Housing Unit engage in during your almost

 7           decade with the Housing Unit?

 8       A. E v e r y t h i n g t h a t e v e r y d i s t r i c t d i d a n d t h e n

 9           some.       I mean, there was regular patrol, there

10           was enforcement of V&T, there were arrests, we

11           -- instead of getting calls, we would

12           follow-up on a lot of activity that occurred

13           that the districts would give us, as I stated

14           before.        And then additionally, we would do

15           things districts -- not because they weren't

16           supposed to, but they clearly didn't have time

17           to do with as busy as the city is.

18                      We followed up on a lot of complaints

19           within -- like, residential complaints within

20           the units.          Our officers would walk the

21           properties, they would walk all the

22           high-rises.           There was a lot of foot traffic

23           because we weren't call-to-call.                         So we wanted




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 1           high visibility so that the residents there

 2           felt a bit more at ease, as well as to deter

 3           criminal activity, which unfortunately, there

 4           was quite a bit of.

 5                      Officers would attend meetings,

 6           community meetings, functions like that that

 7           you would not attend within a district.                           That

 8           would not be something that an officer would

 9           be required to do.                 So things of that nature.

10       Q. G o t i t .        Now, you mentioned that officers

11           would kind of walk the premises?

12       A. C o r r e c t .

13       Q. I s t h a t s o m e t h i n g t h a t w a s r e f e r r e d t o a s a

14           park and walk?

15       A. Y e s .

16       Q. O k a y .     So in your own words, what is a park

17           and walk?

18       A. Y o u r e s p o n d t o a l o c a t i o n .    Let's say, LBJ

19           Towers, just call it a park and walk.                          That

20           was a way of letting radio know what you were

21           doing.           Park and walk at LBJ.               You exit your

22           vehicle and you walk the stairwells of the

23           property, walk the perimeter of the property,




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 1           and down the flights of stairs in a housing

 2           unit to do inspections?

 3       A. Y e a h .    But again, that was park and walk.

 4           Maybe somebody referred to it as I am doing a

 5           sweep of LBJ, but those were park and walks.

 6       Q. O k a y .    And you mentioned that you did V&T

 7           enforcement.           What type of V&T enforcement?

 8       A. A n y t h i n g t h a t p e r t a i n e d t o V & T t h a t w a s

 9           noticeable.          The range within the housing

10           units as far as the age ranges are everything

11           from little kids to the elderly to families

12           that are trying to raise their families in

13           some pretty crappy circumstances.                        So we got

14           lots of complaints about certain intersections

15           within locations where cars are blowing

16           through intersections and they are going to

17           kill somebody.            You were in very tight corners

18           within -- I am sure you know this.                         Within a

19           lot of the locations within the city and there

20           are kids everywhere and a lot of blatantly

21           disregard.

22                      So I would get emails or 311 complaints

23           or quite honestly, most of them came from




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 1           people that would just call us or when I was

 2           driving around they would stop us and say,

 3           hey, can you follow-up on this, please?

 4           Somebody is going to get killed.                    So I would

 5           have a car crew assigned to a location to

 6           monitor an intersection, let's say, a stop

 7           sign within the projects where there is heavy

 8           foot traffic, especially during, you know,

 9           school hours or right after school, but that

10           can vary.         Whenever there was an issue.               And

11           those officers would either -- they would

12           observe and either write tickets or they could

13           simply be there as a deterrent so that people

14           saw the car and they would slow down.                     If you

15           do that long enough, it just started to

16           register.

17                   There were times if you don't have

18           enough officers to man, even now you may see a

19           police car that is not manned.                   It is left

20           somewhere in the city, but somebody driving is

21           going to see that car and think it is a manned

22           vehicle.        It is a deterrent.           Again, it varied

23           depending on what you came across, like




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 1       Q. W h a t w o u l d y o u s a y i s t h e r a n g e o n t h e l o w e s t

 2           end?      What's the shortest checkpoint that you

 3           observed?

 4       A. Y o u m e a n , h o w l o n g t h e y l a s t , i n o t h e r w o r d s ?

 5       Q. C o r r e c t .

 6       A. 4 5 m i n u t e s , a n h o u r , m a y b e .

 7       Q. W h a t a b o u t o n t h e l o n g e r e n d w h e n e i t h e r

 8           traffic patterns or time of day there was more

 9           traffic?

10       A. M a y b e a n h o u r a n d a h a l f .         Again, this is

11           something from one of their lieutenants, but I

12           think they were pretty much an hour long.

13           Say, they were going there at 2:00, they were

14           done at 3:00 kind of thing.

15       Q. G o t i t .        Now as a lieutenant who was operating

16           the checkpoint on I guess an overtime basis

17           for the Strike Force, did you receive any

18           guidance about how the checkpoints were to be

19           operated?

20                     MS. RAUH:         Objection.           Form.

21       A. N o .     I mean, I was told how they run, if

22           that's what you mean.                Just how they were

23           structured as far as -- they would have cars




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 1       Q. O k a y .    And you stated earlier that you often

 2           would schedule checkpoints after there was a

 3           shooting; is that accurate?

 4       A. W e l l , n o .    Not often.         I used that as an

 5           example of a checkpoint for -- I mean, it

 6           could be for anything, but it was generally a

 7           high -- an area after there was an incident.

 8           It doesn't necessarily have to be a shooting.

 9       Q. A c r i m e i n c i d e n t ?

10       A. C r i m e o r s o m e w h e r e w e h a d a p r o b l e m w i t h .   It

11           could have been a chase the night before,

12           anything like that.

13       Q. O k a y .    And was the thinking that the presence

14           of the checkpoint would deter crime?

15                      MS. RAUH:           Objection.      Form.

16       A. T h a t w a s p a r t o f i t .      I mean, again, it was --

17           the checkpoint is for V&T, but we also wanted

18           it for the high visibility and if that

19           resulted in various things, you know, keeping

20           the residents happy or ultimately deterring

21           crime, that was certainly a bonus, too.

22       Q. O k a y .    But, there was a relationship between

23           crime incidents and the checkpoint locations,




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 1             at one point.            So it varied depending on the

 2             time of year and, you know, activity.

 3        Q. G o t i t .      But as far as the reference to

 4             results, do you agree that's a reference to

 5             arrests, summons, impounds, parking tags,

 6             ceasing of drugs, et cetera?

 7                       MS. RAUH:         Objection to form.

 8        A. I v i e w i t a s - - I u n d e r s t a n d w h a t y o u r p o i n t

 9             is with this, but I don't view it like they

10             are -- like that's what they are saying.                              They

11             want results, being that's what your job is.

12             If there is an arrest to be made, do it.                              If

13             you are walking around and you are enforcing

14             V&T, you are going to come across those

15             things, you are going to have arrests.                             You

16             are going to have summonses written, you are

17             going to have impounds.                  Those things are

18             going to happen when you are doing your job.

19             So that's how I view it.

20        Q. D i d y o u i s s u e y o u r o f f i c e r s i n s t r u c t i o n s b a s e d

21             on this email?

22        A. I d o n ' t r e m e m b e r t h i s e m a i l .     Clearly we got

23             it, but I don't remember it.                      So I am sure




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